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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

ARNULFO FIGUEROA                               §
          Plaintiff,                           §
                                               §
v.                                             §                Civil Action No. ____________
                                               §                  A jury is demanded
CITY OF CORPUS CHRISTI,                        §
          Defendant.                           §

                      DEFENDANT, CITY OF CORPUS CHRISTI’S
                        LIST OF STATE COURT PLEADINGS

1. Case Summary / Docket Sheet

2. Citation

3. First Amended Original Petition

4. Notice of Removal to be filed in State Court, pursuant to 28 U.S.C. §1446(d)
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                                 CAUSE NO. 2020CCV-61584-3

ARNULFO FIGUEROA                                  §         IN THE COUNTY COURT
                                                  §
v.                                                §         AT LAW NUMBER 3
                                                  §
CITY OF CORPUS CHRISTI                            §         NUECES COUNTY, TEXAS

                                    NOTICE OF REMOVAL

To the Honorable Judge of Said Court:

       Please take notice that the Defendant, City of Corpus Christi has, pursuant to federal law,

filed with the clerk of the United States Court for the Southern District of Texas, Corpus Christi

Division, a Notice of Removal, a copy of which is attached and filed with this document as Exhibit

“A,” and that this action is removed to United States District Court for trial as of today, February

22, 2021. This court is respectfully requested to proceed no further in this action, unless and until

such time as the action may be remanded by order of the United States District Court.


                                                      Respectfully submitted,

                                                      /s/ Alissa A. Adkins
                                                      Alissa A. Adkins
                                                      Assistant City Attorney
                                                      State Bar No. 00785653
                                                      City of Corpus Christi
                                                      Legal Department
                                                      P.O. Box 9277
                                                      Corpus Christi, TX 78469-9277
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                                                      AlissaA@cctexas.com

                                                      ATTORNEY FOR DEFENDANT,
                                                      CITY OF CORPUS CHRISTI
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                                CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of this document was served on:

Via E-Service:
Mr. Charles C. Smith
615 N. Upper Broadway
Wells Fargo Tower, Suite 1710
Corpus Christi, Texas 78401
ccsmithlaw@aol.com

on this the 22th day of February, 2021.
                                                    /s/ Alissa A. Adkins
                                                    Alissa A. Adkins




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